     LITIGATION LAW GROUP
1    Attorneys at Law
     Linda B. Keny, Esq. (SBN: 187013)
2
     Lawrence P. Ramirez, Esq. (SBN: 141550)
3    111 North Market Street, Suite 1010
     San Jose, CA 95113
4    Telephone: (408)971-1119
     Facsimile: (408)971-1129
5    Email: lindakeny@thellg.com
     Email: lpramirez@thellg.com
6
     Attorneys for Gloria Cabral
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8                            UNITED STATES BANKRUPTCY COURT
9
                  IN AND FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
                                      SAN JOSE DIVISION
11

12
                                                 Lead Bankruptcy Case No.: 18-51575
13   IN THE MATTER OF GLORIA CABRAL,
     ______________________________________ Adv. Pro. Case Number: 18-05032
14
     GLORIA CABRAL,
15                                               FIRST AMENDED COMPLAINT FOR
                                                 VIOLATION OF THE AUTOMATIC STAY
                      PLAINTIFF,                 UNDER 11 U.S.C. 362(a)
16

17   V.

18   JEFFREY ALLEN MENTZOS, JEFFREY
     ALLEN MENTZOS, AS SUBSITUTED
19   TRUSTEE, KURT ANTHONY MILLER,
     ZDENKA KOLARIK, AN INDIVIDUAL,
20   AND DOES 1-10,
21
                      DEFENDANTS.
22

23

24                                          JURISDICTION

25          This Court has jurisdiction over this matter as a result of the underlying Chapter

                                                -1-

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     Bankruptcy Filing which has been filed by the Debtor, GLORIA CABRAL.                   This is an
1
     adversary proceeding in debtors Case Number 18-51575, under Chapter 13 title 11 of the United
2

3    States Bankruptcy Code, now pending in this Court. This Court has jurisdiction over the

4    adversary proceeding pursuant to 11 U.S.C. sections 727 and 523. This is a core proceeding

5    under 28 U.S.C. section 157(b)(2)(I) and (J).         Defendants JEFFREY ALLEN MENTZOS,

6    JEFFREY ALLEN MENTZOS, AS SUBSITUTED TRUSTEE, KURT ANTHONY MILLER,
7    an individual, ZDENKA KOLARIK, an individual and DOES 1-10, are in violation of the
8
     automatic stay under 11 U.S.C 362(a).
9
                                                 PARTIES
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11          1.      Plaintiff GLORIA CABRAL (“CABRAL”), is an individual residing in the

12   County of Santa Clara, Northern District of California.

13          2.      Upon information and belief, Defendant JEFFREY ALLEN MENTZOS, is an
14
     individual doing business in the County of Santa Clara, Northern District of California.
15
            3.      Upon information and belief, Defendant JEFFREY ALLEN MENTZOS, AS
16
     SUBSTITUTE TRUSTEE, is an individual Substitute Trustee doing business in the County of
17
     Santa Clara, Northern District of California.
18
            4.      Upon information and belief, Defendant KURT ANTHONY MILLER, is an
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     individual doing business in the County of Santa Clara, Northern District of California.
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            5.      Upon information and belief, Defendant ZDENKA KOLARIK, is an individual
21

22   doing business in the County of Santa Clara, Northern District of California.

23          6.      Plaintiff is ignorant of the true names and capacities of Defendants sued as DOES

24   1-10 inclusive, and therefore sues these Defendants by such fictitious names. Plaintiff will

25   amend this Complaint to allege their true names and capacities when ascertained.

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             7.     Plaintiff is informed and believes, and based on information and belief, alleges
1
     that at all times mentioned in this complaint Defendants were agents, servants, partners and/or
2

3    employees of co-defendants, and in doing the actions mentioned below were, unless otherwise

4    alleged, within the course and scope of their authority as such agent, servant, partner, and/or

5    employee with the permission and consent of co-defendants.

6            8.     Any allegations about acts of any corporate or other business defendant means
7    that the corporation or other business did the acts alleged through its officers, directors,
8
     employees, agents and/or representatives while they were acting within the actual or ostensible
9
     scope of their authority.
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             9.     Plaintiff believes and is informed and, on that basis alleges, that each of said
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     Defendants including the DOE defendants, were in some manner legally responsible for the
12
     unlawful actions, unlawful policies, and unlawful practices complained of herein. Plaintiffs will
13
     amend this Complaint to set forth the true names and capacities of said Defendants, along with
14
     the appropriate charging allegations when the same have been ascertained.
15

16           10.    Venue is proper in this court because injury and damage to Plaintiffs occurred in

17   its jurisdictional area, the Plaintiff resides in its jurisdictional area, the contracts were entered

18   into in its jurisdictional area and the unlawful practices were committed in this jurisdictional

19   area.
20
                                       GENERAL ALLEGATIONS
21

22           11.    Defendants, and each of them, foreclosed on the property located at 3474 Gila

23   Drive, San Jose, CA 95148 (hereinafter “Subject Property”).

24           12.    Plaintiff, Gloria Cabral, (hereinafter “CABRAL”), filed her Voluntary Chapter 13

25   Bankruptcy Petition on July 17, 2018, at approximately 1:23pm. Said bankruptcy filing was

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     filed in good faith in an effort to reorganize her debts (contingent, liquidated and disputed).
1
            13.     CABRAL was a legal owner of an undivided 1/10th interest in the Subject
2

3    Property at the time she filed her Bankruptcy Petition on July 17, 2018.

4           14.     Defendants, and each of them, foreclosed on the Subject Property pursuant to an

5    alleged power of Sale in a Deed of Trust.

6           15.     This action is brought against Defendants, and each of them, because they have
7    violated the automatic stay of 11 U.S.C. Section 362(a) currently in effect. Said stay was in
8
     effect at the time of the foreclosure on July 18th, 2018.
9
            16.     Defendants, and each of them, were informed on July 17, 2018, at approximately
10
     5pm by email, fax and phone, that CABRAL had filed bankruptcy on July 17, 2018. Plaintiff
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     faxed a copy of the petition and proof of her ownership share in the Subject Property. A copy of
12
     the petition and proof of Cabral’s ownership was also hand-delivered to Defendant Jeffrey
13
     Mentzos’ (a licensed attorney) office.
14
            17.     Notwithstanding express notification of the automatic stay to Defendants,
15

16   Defendants proceeded with holding a foreclosure sale on the morning of July 18th, 2018.

17   Furthermore, prior to the foreclosure on July 18th, 2018, Defendants were also informed in

18   person that the Automatic Stay was in effect at the time of the foreclosure. They were

19   specifically instructed to cease and desist all collection efforts including foreclosure of the
20
     Subject Property. Nonetheless, Defendants did not stop their efforts to foreclose on the Subject
21
     Property.
22
            18.     Defendants continued to engage in further violations of the automatic stay
23
     through the following actions:
24
            a. On July 23rd, Defendants filed a Trustee’s Deed Upon Sale with the Santa
25             Clara County Recorder’s Office;

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            b. On July 24th, 2018, Defendants filed a Corrective Trustee’s Deed Upon Sale
1              with the Santa Clara County Recorder’s Office naming Defendant Kurt Miller
               as the Grantee;
2

3           c. On July 27th, 2018, Defendants posted a 3-day Notice to Vacate on the Subject
               Property;
4
            d. On July 31st, 2018, Defendant Miller filed an Unlawful Detainer Complaint
5              against Cabral and her family (Santa Clara County Superior Court Case
               Number 18CV332335) which is currently pending in that court.
6
            19.     Defendants have engaged in, and continue to engage in, actions that violate the
7
     automatic stay which is currently in effect.
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                                          SPECIFIC ALLEGATIONS:
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11          20.     Plaintiff filed her bankruptcy on July 17, 2018. At this time, she was a partial

12   legal owner of the property located at 3474 Gila Drive, San Jose, CA 95148.

13          21.     Defendants foreclosed on the Subject Property on July 18, 2018, with full
14   knowledge and notice that Plaintiff had filed her bankruptcy and that the Subject Property was
15
     protected by the Automatic Stay.
16
            22.     Despite having actual notice of the pending federal bankruptcy court order staying
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     all collection actions, Defendants foreclosed on the Subject Property on July 18, 2018.
18
            23.     Defendants engaged in further violations of the automatic stay by (a) recording a
19
     Trustee’s Deed claiming ownership of the Subject Property on July 23rd, 2018; (b) filing for and
20
     recording a Corrective Trustee’s Deed claiming ownership of the Subject Property on July 24th,
21
     2018; (c) posting a 3-day Notice to Vacate/Quit on Cabral’s Property to force an unlawful
22

23   eviction and (d) commencing an Unlawful Detainer action against Cabral and her family on July

24   31st, 2018.

25   ///

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                                  FIRST CAUSE OF ACTION
1                  VIOLATION OF 11 U.S.C SECTION 362(a) – AUTOMATIC STAY
                                 (AS TO ALL DEFENDANTS)
2

3            24.       Plaintiffs reallege and incorporate by reference all paragraphs above, as though

4    fully set forth in this cause of action.

5            25.       Defendants have violated and continue to violate the automatic stay of 11 U.S.C.

6    Section 362(a), by having foreclosed on the Subject Property on July 18, 2018, while Plaintiff
7    was under Bankruptcy protection. Defendants have continued to violate the automatic stay by its
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     continuing failure to rescind the foreclosure sale, filing and recording the Trustee’s Deed Upon
9
     Sale, filing for and recording a Corrective Trustee’s Deed Upon Sale, posting a 3 Day Notice to
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     Vacate on the Property and filing an Unlawful Detainer Action against Cabral and her family.
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             26.       Defendants had actual and constructive notice that Plaintiff was in bankruptcy and
12
     that the automatic stay was in effect.
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             27.       Defendants have ignored Plaintiff’s reasonable demand for rescission of the
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15
     foreclosure sale and the improper deeds resulting from that unlawful foreclosure.

16           28.       Plaintiff’s have been damaged as a result of Defendant’s violation of the

17   automatic stay of 11 U.S.C. Section 362(a), in a manner and an amount that will be proven at

18   trial. Plaintiff has suffered and continues to suffer both special, general damages and punitive

19   damages.
20
             WHEREFORE, Plaintiff prays for judgment as set forth below;
21

22           PLAINTIFF PRAYS FOR JUDGMENT AS FOLLOWS:

23           1. Damages sustained by the Plaintiffs due to Defendants’ wrongful acts in an amount to

24                 be proven at trial;

25           2. For rescission of the foreclosure sale of July 18, 2018.

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           3. For rescission of the Trustee’s Deed which was filed by Defendants on the Subject
1
              Property.
2

3          4. For rescission of the Corrective Trustee’s Deed Upon Sale which was filed by

4             Defendants on the Subject Property.

5          5. For injunctive relief.

6          6. For punitive damages against Defendants due to their intentional and wrongful acts in
7             violating the automatic stay and for the unlawful attempts to evict Plaintiff and her
8
              family;
9
           7. That Plaintiffs recover reasonable attorney’s fees and for to recover its costs of suit.
10
           8. For such other relief that the Court deems just, proper, and equitable.
11

12   Dated: August 13, 2018                LITIGATION LAW GROUP

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14
                                           /s/ Linda Keny ________     _______
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                                            Linda Keny, Attorney for Debtor

16
                                           /s/ Lawrence P. Ramirez
17                                         _____________________________________
                                            Lawrence P. Ramirez, Attorney for Debtor
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